     23-03004-cgb Doc#139-7 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 7. Order
                  Approving First Amended Disclosure Statement Pg 1 of 3
EXHIBIT 7 - ORDER APPROVING 1ST AMENDED
DISCLOSURE STATEMENT (DKT. 118)




    The relief described hereinbelow is SO ORDERED.



    Signed January 20, 2022.

                                                       __________________________________
                                                              H. CHRISTOPHER MOTT
                                                       UNITED STATES BANKRUPTCY JUDGE
    ________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF TEXAS
                                        EL PASO DIVISION

      IN RE:                                     §
                                                 §    Case No. 21-30107
      PDG PRESTIGE, INC.,                        §    (Chapter 11)
      EIN: XX-XXXXXXX                            §
      Address:                                   §
         PDG Prestige, Inc.                      §
         154 N. Festival Dr., Suite D            §
         El Paso, TX 79912                       §
             Debtor.                             §

            ORDER TO (I) APPROVE FIRST AMENDED DISCLOSURE STATEMENT (AS
            CORRECTED) IN SUPPORT OF FIRST AMENDED PLAN OF
            REORGANIZATION OF PDG PRESTIGE, INC. DATED JANUARY 17, 2022 (II)
            ESTABLISH PLAN RELATED DEADLINES, AND (III) SET CONFIRMATION
            HEARING, AND NOTICE OF DEADLINES AND HEARING TO CONSIDER
            CHAPTER 11 PLAN, AND ADDRESSING RELATED DATES AND DEADLINES
            (RE: DOCKET NOS. 110, 111,116)

            On January 19, 2022, came on for consideration the First Amended Disclosure Statement
    in Support of the First Amended Plan of Reorganization of PDG Prestige, Inc. Dated January
    17, 2022 (Docket No. 111) and as corrected subsequent to the hearing (Docket No. 116)
    (collectively, the “Disclosure Statement”) filed herein on January 17, 2022 by PDG Prestige,
    Inc., debtor and debtor in possession (“PDGP” or the “Debtor”) and relating to the proposed
    First Amended Plan of Reorganization of PDG Prestige, Inc. dated January 17, 2022 (Docket
    No. 110) (the “Plan” filed herein by the Debtor also on January 17, 2022.
    ORDER TO (I) APPROVE FIRST AMENDED DISCLOSURE STATEMENT (AS CORRECTED) IN SUPPORT OF
    FIRST AMENDED PLAN OF REORGANIZATION OF PDG PRESTIGE, INC. DATED JANUARY 17, 2022 (II)
    ESTABLISH PLAN RELATED DEADLINES, AND (III) SET CONFIRMATION HEARING, AND NOTICE OF
    DEADLINES AND HEARING TO CONSIDER CHAPTER 11 PLAN, AND ADDRESSING RELATED DATES AND
    DEADLINES (RE: DOCKET NOS. 110, 111, 116) — Page 1                         2088315.DOCX[1]
23-03004-cgb Doc#139-7 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 7. Order
             Approving First Amended Disclosure Statement Pg 2 of 3



       The Court finds and concludes that upon review of the record of this case that sufficient
notice was provided in accordance with the Federal Rules of Bankruptcy Procedures and/or the
Bankruptcy Local Rules, the Code, that sufficient cause exists to enter the following Orders.

IT IS THEREFORE ORDERED THAT:

       1.     The Disclosure Statement is approved as having adequate information as required
              by Code §1125.

       2.     The Debtor is authorized to solicit votes with respect to the Plan.

       3.     The Ballot Form filed with the Court (Docket No. 114) is approved.

       4.     On or before January 21, 2022, the Debtor shall mail a copy of this Order, the
              Debtor’s proposed Plan, the Disclosure Statement, and the Ballot Form to
              creditors, equity security holders, and other parties in interest, and shall be
              transmitted to the United States Trustee, as provided in Fed. R. Bankr. P. 3017(d);
              however, in accordance with Code §1126(f), acceptances and rejections will not
              be solicited from any class that is not impaired under the Plan. Promptly
              thereafter the Debtor shall a certificate of service the Court reflecting such
              mailing.

       5.     On or before February 4, 2022, the Debtor shall file and serve to all creditors any
              supplements to and/or proposed agreements to be approved in connection with the
              Plan.

       6.     February 18, 2022 (the “Ballot Deadline” as shown in the Plan and Disclosure
              Statement) is fixed as the last day for filing written acceptances or rejections of
              the Debtor’s proposed Plan which must be received on that date at the offices of
              Jeff Carruth, Weycer, Kaplan, Pulaski & Zuber, P.C. 3030 Matlock Rd., Suite 201
              Arlington, TX 76015, facsimile (866) 666-5322, email jcarruth@wkpz.com, and
              no acceptances or rejections received after the stated deadline shall be counted or
              otherwise included in the tabulation of acceptances and rejections of the proposed
              Plan without further Court order. Ballots may be accepted by mail, fax, and/or
              email but must arrive prior to the Ballot Deadline.

       7.     February 18, 2021 (the “Objection Deadline” as shown in the Plan and
              Disclosure Statement) is fixed as the last day for filing and serving written
              objections to confirmation of the Plan pursuant to Fed. R. Bankr. P. 3020(b)(1).
              Any objections shall include a memorandum of legal authorities supporting such
              objections. All comments or objections not timely filed and served by such
              deadline shall be deemed waived.

       8.     February 21, 2022 is the deadline for the Debtor to file (1) a ballot summary in
              accordance with Local Rule 3018(b), (2) a legal memorandum addressing any


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DEADLINES (RE: DOCKET NOS. 110, 111, 116) — Page 2                         2088315.DOCX[1]
23-03004-cgb Doc#139-7 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 7. Order
             Approving First Amended Disclosure Statement Pg 3 of 3



             unresolved objections to confirmation, and (3) under a notice coversheet a
             proposed order confirming the Plan.

      9.     The Court will conduct an evidentiary hearing on confirmation of the Plan (the
             “Confirmation Hearing” as shown in the Plan and Disclosure Statement) on
             February 23, 2022, AT 1:30 P.M. Mountain Time (MT), 2:30 P.M. Central
             Time (CT), which hearing may be adjourned or continued to a different date
             without further notice other than notice given in open court at such hearing. The
             Debtor shall file and serve a separate notice of hearing with the access
             instructions for the Confirmation Hearing. The Confirmation Hearing will be
             conducted remotely according to the information appearing below.

                    The Confirmation Hearing will take place via the link below through
                    the Cisco WebEx Meetings application. Parties may also attend the
                    hearing by phone at 650-479-3207 with access code 160 357 6609#.

                    LINK / ADDRESS: us-courts.webex.com/meet/Mott

                                    ### END OF ORDER ###




ORDER TO (I) APPROVE FIRST AMENDED DISCLOSURE STATEMENT (AS CORRECTED) IN SUPPORT OF
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